     Case 2:13-cr-00012-RMP      ECF No. 154    filed 06/04/13   PageID.1056 Page 1 of 1




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                           UNITED STATES DISTRICT COURT
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                        EASTERN DISTRICT OF WASHINGTON
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     UNITED STATES OF AMERICA,                      No. CR-13-012-RMP-1
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 9                      Plaintiff,                  ORDER GRANTING MOTION
                                                    TO EXPEDITE AND GRANTING,
10 vs.                                              IN PART, MOTION FOR
11                                                  RECONSIDERATION
   GREGORY D. JEFFREYS,
12
13                      Defendant.
14         The United States has moved for reconsideration of the court’s order
15   directing transcription of phone calls, ECF. 140, by June 9, 2013. In addition,
16   movant seeks expedited consideration. Defendant Jeffreys has not responded and
17   Defendant Stiltner represented at an unrelated hearing that she takes no position.
18         Consistent with the order addressing this matter as to Defendant Stiltner,
19   expedited consideration is appropriate, and the Motion to Expedite, ECF No. 148,
20   is GRANTED. The Motion for Reconsideration, ECF No. 140, is GRANTED
21   IN PART; the telephone call recordings shall be transcribed, redacted as to
22   personal identifiers, and filed within 45 days of the date of this Order.
23         IT IS SO ORDERED.
24         DATED June 4, 2013.
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26                            S/ CYNTHIA IMBROGNO
                        UNITED STATES MAGISTRATE JUDGE
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     ORDER - 1
